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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                   ABERDEEN DIVISION

                                                                  )
In re:                                                            )
                                                                  )
UNITED FURNITURE INDUSTRIES, INC., et                             )     Case No. 22-13422-SDM
al.1                                                              )     Chapter 11
                                                                  )     Jointly Administered
         Debtors.                                                 )


                                   CERTIFICATE OF NO OBJECTION


          COMES NOW Stewart Robbins Brown & Altazan, LLC (“SRBA”) counsel for the Official

 Committee of Unsecured Creditors in the above referenced bankruptcy case, and files this

 Certificate of No Objection to SRBA’s First Monthly Fee Statement Incurred for the Period Ending

 April 30, 2023 (“CONO”) and shows the Court as follows:

          1.       In accordance with the Order Establishing Compensation Procedures for

 Professionals [Dkt #301] entered on March 6, 2023 (the “Compensation Procedure Order”),

 SRBA served a monthly invoice (the “Monthly Fee Statement”) on June 12, 2023, for the period

 of time beginning April 10, 2023 and ending April 30, 2023.

          2.       SRBA’s Monthly Fee Statement was served upon the proper parties per the

 Compensation Procedures Order.

          3.       As set forth in the Compensation Procedures Order, each party receiving a copy of

 the Monthly Fee Statement shall have ten (10) days after service of the Monthly Fee Statement to


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            The Debtors in these Chapter 11 cases, and the last four digits of each Debtor’s federal tax identification
 number, are as follows: United Furniture Industries, Inc. (2576); United Furniture Industries NC, LLC.(9015);
 United Furniture Industries CA, Inc. (9966); FW Acquisition, LLC (2133); Furniture Wood, Inc. (9186);United
 Wood Products, Inc. (1061); Associated Bunk Bed Company (0569); UFI Royal Development, LLC (8143); UFI
 Exporter, Inc. (6518); UFI Transportation, LLC (9471); and LS Logistics, LLC (7004).

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 file and serve a written objection. The deadline for objections was June 22, 2023. SRBA has not

 received any objections to the Monthly Fee Statement and the records of the Court indicate that

 the Court has received no objection.

        4.     In accordance with the Compensation Procedures Order, the Debtor is authorized

 to pay the fees and expenses submitted by SRBA in its Monthly Fee Statement as no objections

 have been filed within the time permitted by the Compensation Procedures Order.

        WHEREFORE, in accordance with the Compensation Procedures Order, the Debtor is

 authorized to immediately pay SRBA all amounts of its allowed claim.

        THIS 26th day of June, 2023.

                                            Respectfully Submitted,

                                            STEWART ROBBINS BROWN & ALTAZAN, LLC
                                            301 Main Street, Suite 1640
                                            Baton Rouge, LA 70801-0016
                                            Telephone: (225) 231-9998
                                            Facsimile: (225) 709-9467

                                            /s/ Paul Douglas Stewart, Jr.
                                            Paul Douglas Stewart, Jr. (La. Bar # 24661)
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                                            Pro Hac Vice Granted
                                            Brandon A. Brown (LA Bar # 25592)
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                                            nsmeltz@stewartrobbins.com
                                            Pro Hac Vice Granted
                                            Counsel for the Official
                                            Committee of Unsecured Creditors



                                 CERTIFICATE OF SERVICE




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         I do hereby certify that the foregoing pleading was filed electronically through the
 Court’s CM/ECF system and served electronically on all parties enlisted to receive service
 electronically.

        SO CERTIFIED, this the 26th day of June, 2023.



                             /s/ Paul Douglas Stewart, Jr.




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